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                                            United States District Court
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                                                                        for the                                                       JUN 21 '21 AHll:OB
                                                                    District of Utah

                  UNITED STATES OF AMERICA

                                 V.                                                       Case No: 1:21-CR-00073-002 RJS

           Justin Michael Vanderwoude, et al.

                                                         ARREST WARRANT
To:         The United States Marshal
            and any authorized law enforcement officer
                                               - - - -       -   - - - - - - - - - - -




YOU ARE HEREBY COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay (name of person
to be arrested)       DANA JEAN STEELE
who is accused of an offense or violation based on the following document filed with the court:

[Kl      Indictment      D    Superseding Indictment                D    Information              D   Superseding Information

                         D    Complaint     D      Order of court   D    Violation Notice         D   Probation Violation Petition

                         D  Supervised Release Violation Petition
This offense is briefly described as follows:
            Possession of Methamphetamine with Intent to Distribute; Felon in Possession of Firearms




in violation of       21:841(a)(l); 18:922(g)(l)                                                                                         United States Code.
                                                                        Clerk of Court
                                                                        Title oflssuing Officer

                                                                        June 9, 2021 at Salt Lake City, Utah
                                                                        Date and Location

By:          Aimee Trqjillo
             Deputy Clerk


Bail fixed      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ by _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                          Name of Judicial Officer

                                                                        RETURN
 This warrant was received and executed with the arrest of the above-named defendant at



 DA TE RECEIVED               NAME AND TITLE OF ARRESTING               SIGNATURE OF ARRESTING OFFICER
                              OFFICER
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 DATE OF ARREST
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